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 9
                              UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
11
                                                         Case No. 3:21-cv-8378-TSH
12
     DONALD TRUMP, et al.,
                                                         ATTORNEY DECLARATION IN
13                                                       SUPPORT OF ADMINISTRATIVE
                     Plaintiffs,
                                                         MOTION TO SET DEADLINE FOR
14                                                       THE UNITED STATES’
             vs.
15                                                       MEMORANDUM IN DEFENSE OF 47
      TWITTER, INC., et al.,                             U.S.C. § 230(C)
16                   Defendants.
17
                                                         Action Filed: July 7, 2021
18                                                       Trial Date: None Set

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      ATTORNEY DECLARATION IN SUPPORT OF MOTION TO SET DEADLINE FOR THE      U.S. DEPARTMENT OF JUSTICE
      UNITED STATES’ MEMORANDUM IN DEFENSE OF 47 U.S.C. § 230(C)           Civil Division, Federal Programs Branch
      No. 3:21-cv-8378-TSH                                                               P.O. BOX 883
                                                                                   Washington, D.C. 20044
                                                                                       Tel: (202) 305-7664
            Case 3:21-cv-08378-JD Document 130-1 Filed 11/18/21 Page 2 of 2



 1          I, Joshua Kolsky, declare as follows:
 2      1. I am counsel for the United States of America in respect of this action.
 3      2. I submit this declaration in support of the Administrative Motion to Set
 4   Deadline for the United States’ Memorandum in Defense of 47 U.S.C. § 230(c). I
 5   have personal knowledge of the facts set forth in this Declaration. If called as a
 6   witness, I could and would testify competently to the matters set forth herein.
 7      3. On July 9, 2021, Plaintiffs filed a Notice of Constitutional Question pursuant
 8   to Federal Rule of Civil Procedure 5.1. ECF No. 5.
 9      4. By order dated July 21, 2021, the U.S. District Court for the Southern
10   District of Florida certified a constitutional question to the U.S. Attorney General.
11   ECF No. 18. On October 1, 2021, Plaintiffs filed a motion for preliminary injunction
12   arguing, inter alia, that Section 230(c) of the Communications Decency Act of 1996
13   is unconstitutional. ECF No. 62. On November 4, 2021, the Court ordered that the
14   United States may file a notice of intervention by November 18, 2021. ECF No.
15   120.
16      5. Defendants’ response to Plaintiffs’ motion for preliminary injunction is due
17   on December 9, 2021. ECF No. 126.
18      6. Undersigned counsel has conferred with counsel for Defendants about the
19   relief sought herein. Counsel for Defendants stated that Defendants consent to the
20   relief sought herein. Undersigned counsel contacted counsel for Plaintiffs on
21   November 16 and requested Plaintiffs’ position, but as of the date of filing,
22   Plaintiffs’ counsel has not provided that position.

23      I declare under penalty of perjury that the foregoing is true and correct.

24      Executed this 18th day of November 2021, at Washington, D.C.
                                         By: /s/ Joshua Kolsky
25
                                             JOSHUA KOLSKY
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      ATTORNEY DECLARATION IN SUPPORT OF MOTION TO SET DEADLINE FOR THE     U.S. DEPARTMENT OF JUSTICE
      UNITED STATES’ MEMORANDUM IN DEFENSE OF 47 U.S.C. § 230(C)          Civil Division, Federal Programs Branch
      No. 3:21-cv-8378-TSH                                                               P.O. Box 883
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